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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA, FT. MYERS DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                American Mariculture, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  9703 Stringfellow Rd.
                                  Saint James City, FL 33956
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Lee                                                           Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    American Mariculture, Inc.                                                                  Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                               Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases           No
    pending or being filed by a
    business partner or an             Yes.
    affiliate of the debtor?




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Debtor    American Mariculture, Inc.                                                                    Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor       See Attachment                                               Relationship
                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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                  1.8.2025




  /s/ Scott A. Stichter                                1.8.2025
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Debtor     American Mariculture, Inc.                                                       Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA, FT. MYERS DIVISION

Case number (if known)                                                   Chapter     11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     American Penaeid, Inc.                                                  Relationship to you               Affiliate
           Middle District of Florida, Fort
District   Myers Division                             When                         Case number, if known
Debtor     Sun Shrimp Gourmet, Inc.                                                Relationship to you               Affiliate
           Middle District of Florida, Fort
District   Myers Division                             When                         Case number, if known




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3CR Bioscience
Unit 10, West Point Business Park
West Road Harlow
Essex CM20 2BU

A&F Transit LLC
3125 12th Street SW
Lehigh Acres, FL 33976

Airgas USA
5249 Tampa West Blvd.
Tampa, FL 33634

Aquatic Solutions
P.O.Box 30067
Des Moines, IA 50310

Attorney General of the United States
950 Pennsylvania Ave., N.W.
Washington, DC 20530-0001

B&K Installations
246 SW 4th Ave.
Homestead, FL 33030

Blue Street Capital, LLC
17011 Beach Blvd., #710
Huntington Beach, CA 92647

Cargill Financial Services
International, Inc.
8320 Exceisior Blvd., MS 142
Hopkins, MN 55343

Chase Bank
P.O. Box 15299
Wilmington, DE 19850-5299

Comcast
PO Box 8587
Philadelphia, PA 19101-0601

Continental Carbonic Products, Inc.
Dept 3833
PO Box 123833
Dallas, TX 75312-3833

FedEx
P.O.Box 660481
Dallas, TX 75266
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Florida Atlantic University (FAU)
777 Glades Rd.
Boca Raton, FL 33431

Florida First Capital Finance Corp.
1351 N. Gadsden St.
Tallahassee, FL 32303

Florida Freezer Limited Partnership
7952 Interstate Ct. N.
North Fort Myers, FL 33917

Florida Portables, LLC
14370 Briar Lane
Fort Myers, FL 33913

Greater Pine Island Water
5281 Pine Island Rd.
Bokeelia, FL 33922

Harper Meyer Perez Hagen Albert
Dribin & DeLuca, LLPP
201 S. Biscayne Blvd., # 800
Miami, FL 33131

Harrington
1920 North US Hwy 301
Tampa, FL 33619

Holland & Knight
1120 S. Tryon Street
Charlotte, NC 28203

Brooks Horsley
P.O. Box 294
Hanson, KY 42413

Diane Horsley
219 Sugarbush Rd.
Dalton, PA 18414

Ross Horsley
4466 Long Common Lane
Sarasota, FL 34235

Internal Revenue Service
Centralized Insolvency Operations
P.O. Box 7346
Philadelphia, PA 19101-7346
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Jonsson International, Inc.
dba Gregor Jonsson, Inc.
13822 W. Laurel Dr.
Lake Forest, IL 60045

LCEC
4980 Bayline Drive North
Fort Myers, FL 33917

Leaf Capital Funding, LLC
2005 Market St., 14th Floor
Philadelphia, PA 19103

Lee County Tax Collector
P.O. Box 1609
Fort Myers, FL 33902

Lee Health
P.O Box 150107
Cape Coral, FL 33915

LeeWay Service Center
1366 Colonial Blvd.
Fort Myers, FL 33907

LGC Genomics, LLC
P.O.Box 392301
Pittsburgh, PA 15251-9301

Macquarie Equipment Rental Capital, Inc.
1301 Riverplace Blvd. LVL 4
Jacksonville, FL 32207

Massey Commercial Services
10105 Amberwood Rd. Ste 2
Fort Myers, FL 33913

Matheson Tri-Gas Inc
Dept 3028
P.O. Box 123028
Dallas, TX 75312-3028

Melville G. Brinson, III P.A.
8359 Stringfellow Rd.
Unit A. Suite 102
St. James City, FL 33956

Tim Morris
4937 Sandpiper Drive
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Saint James City, FL 33956

Nat'l Oceanic & Atmospheric Admin
National Fisheries Service
263 13th Ave. S.
Saint Petersburg, FL 33701

National Oceanic & Atmospheric Adm.
National Fisheries Service
Room 1323, SSMC 4
1315 East-West Hwy.
Silver Spring, MD 20910

O'Connor Hernandez & Associates, P.A.
999 Brickell Ave, Suite 740
Miami, FL 33131

P1 Finance
13601 McGregor Blvd., #15
Fort Myers, FL 33919

PB Legacy, Inc.
c/o Brian M. Gargano, Esq.
3040 Post Oak Blvd., #1800-150
Houston, TX 77056

Robin Pearl
14511 Dory Lane
Fort Myers, FL 33908

Penske
PO Box 532658
Atlanta, GA 30353-2658

Pentair Aquatic Eco-Systems, Inc.
2395 Blvd
Apopka, FL 32703

Prilabsa International Corporation
2970 W 84th St - Bay #1
Hileah, FL 33018

Rangen, Inc.
1500 E. Cedar St.
Angleton, TX 77515

Robert Reiser & Co., Inc.
725 Dedham St.
Canton, MA 02021
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Sea Farms Nutrition, Inc.
13321 SW 135th Ave
Miami, FL 33186

Shrimp Insights
Violenstraat 43
3551BB Utrecht
The Netherlands

Takeuchi Financial Services
Bank of the West
1625 W. Fountainhead Pkwy.
AZ-FTN-10C-A
Tempe, AZ 85282

Tax Projects Group, LLC
581 Knotty Pine Dr.
Incline Village, NV 89451-8415

TB Foods USA, LLC
c/o Brian M. Gargano, Esq.
3040 Post Oak Blvd., #1800-150
Houston, TX 77056

Tracy Weintraub, PA
2700 N. 29th Ave., #302
Hollywood, FL 33020

Tropical Refrigeration
808 59th Street N.W.
Bradenton, FL 34209

U.S. Attorney
Attn: Civil Process Clerk
2110 First Street, Suite 3-137
Fort Myers, FL 33907

U.S. of America, Secy of Commerce
Nat'l Oceanic & Atmospheric Admin
National Fisheries Service
P.O. Box 979008
Saint Louis, MO 63197-9000

U.S. Small Business Administration
2 North 20th St., #320
Birmingham, AL 35203

UPS
13400 S. Cleveland Ave.
Fort Myers, FL 33907
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Waste Pro USA, Inc.
13110 Rickenbacker Pkwy.
Fort Myers, FL 33913

WEG Electric Group
6655 Sugarloaf Parkway
Duluth, GA 30097

Willscot Mobile Mini
4646 East Van Buren St., #400
Phoenix, AZ 85008

Young Packaging Supplies, Inc.
6745 Mobile Hwy,
Pensacola, FL 32526-8001

Zeigler Bros Inc
400 Gardners Station Rd.
Gardners, PA 17324
